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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW MEXICO
Tim Pairsh,
                     Plaintiff
vs.                                          Case No.

Primary Financial Services, Inc.,
                     Defendant

  COMPLAINT FOR DAMAGES, DECLARATORY AND INJUNCTIVE
                       RELIEF
              AND DEMAND FOR JURY TRIAL

                             NATURE OF ACTION

        1.    This is an action brought under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227.

                         JURISDICTION AND VENUE

        2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §

227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).

        3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

State and this district, where Plaintiff resides in this State and this district, and

where Defendant transacts business in this State and this district.

                                     PARTIES

        4.    Plaintiff, Tim Pairsh (“Plaintiff”), is a natural person who at all

relevant times resided in the State of New Mexico, County of Sandoval, and City
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of Rio Rancho.

       5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       6.     Defendant, Primary Financial Services, Inc. (“Defendant”) is an

entity who at all relevant times was engaged, by use of the mails and telephone, in

the business of attempting to collect a “debt” from Plaintiff, as defined by 15

U.S.C. §1692a(5).

       7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

       9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant, arises from a transaction in

which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes.

       10.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       11.    Within one (1) year preceding the date of this Complaint, Defendant

made and/or placed a telephone call to Plaintiff’s cellular telephone number, in

effort to collect from Plaintiff an obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendant.
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         12.     Within one (1) year preceding the date of this Complaint, Defendant

willfully and knowingly utilized an automatic telephone dialing system to make

and/or place a telephone call to Plaintiff’s cellular telephone number, in effort to

collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant.

         13.     Defendant, via its agents and/or employees “Todd Woodridge,”

“Peter Gonzales” and “Hilary Flynn,” placed telephone calls to Plaintiff’s

residence on August 9, 2010 @ 4:42 P.M., August 11. 2010 @ 11:49 A.M. and

September 21, 2010 @ 12:09 P.M., respectively, and on each occasion, left

Plaintiff voicemail messages in which Defendant failed to notify Plaintiff that the

communication was from a debt collector. (15 U.S.C. § 1692e(11)).

         14.     Defendant placed non-emergency calls to Plaintiff’s cellular

telephone on no less than August 9, 2010 @ 4:42 P.M., August 11. 2010 @ 11:49

A.M. and September 21, 2010 @ 12:09 P.M without the prior express consent of

Plaintiff,     using   an   automatic   telephone   dialing   system.   (47   U.S.C.

227(b)(1)(A)(iii)).

         15.     Defendant’s actions constitute conduct highly offensive to a

reasonable person.

                                        COUNT I

         16.     Plaintiff repeats and re-alleges each and every allegation contained

above.

         17.     Defendant violated the FDCPA as detailed above.
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         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated the FDCPA;

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                       COUNT II

         18.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         19.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly utilizing an automatic telephone dialing system to make and/or place a

telephone call to Plaintiff’s cellular telephone number.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

               b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

                  227(b)(3)(B), in the amount of $500.00 per violation;

               c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
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               227(b)(3)(C), in the amount of $1,500.00 per violation;

            d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            f) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law.

                                 TRIAL BY JURY

      20.      Plaintiff is entitled to and hereby demands a trial by jury.



Respectfully Submitted,


s/Larry Leshin
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